
Per Curiam.
The motion to dismiss this appeal must be allowed for failure of appellants to assign errors in compliance with the rules of the court.
These rules require appellants and plaintiffs in error to assign errors at the time of filing the transcript of the, record, and provide that the appeal or writ of error may be dismissed for noncompliance therewith.
No errors were assigned, either at the time of filing the transcript, or since, and in the present condition of the record there is no issue for us to decide. An assignment of errors is as indispensable in this court, as a declaration or complaint in the court below.
In the case of Williston v. Fisher et al., 28 Ills., 43, Chief Justice Catón, in ruling upon the same point, used the following language: “An assignment of errors in this court performs the same office as a declaration in a court of original jurisdiction. It would be just as regular and proper for the circuit court to render a judgment in a case where there is no declaration, as for this court to affirm or reverse a judgment where there is no assignment of errors.” See also, Powell on Appellate Proceedings, p. 277, Sec. 21.
The motion will be allowed, and the appeal dissmissed with costs.
Justice Stone having been of counsel below, did not participate in the decision.
